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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION


  BOBBY BELLARD, CRAIG MESSICK, and
  BARBRA SPEER,

                       Plaintiffs,

                v.                             Civil Action No.: 3:22-cv-88

  THE UNIVERSITY OF TEXAS MD
  ANDERSON CANCER CENTER,

                       Defendant.


                                      COMPLAINT

       Plaintiffs Bobby Bellard, M.D., Craig Messick, M.D., and Barbra Speer, D.O.,

(collectively “Plaintiffs”), by and through the undersigned attorneys, complain as follows

against Defendant, the University of Texas MD Anderson Cancer Center.

                                     INTRODUCTION

       1.     The First Amendment to the Constitution of the United States guarantees the

free exercise of religion. U.S. CONST. amend. I, cl. 2. The Free Exercise Clause applies

to the States through the Fourteenth Amendment. Cantwell v. Connecticut, 310 U.S. 296,

303–04 (1940). The Supreme Court has held that “the ‘exercise of religion’ often involves

not only belief and profession but the performance of (or abstention from) physical acts.”

Employment Div., Dep’t of Hum. Res. of Or. v. Smith, 494 U.S. 872, 877 (1990).

       2.     University of Texas MD Anderson Cancer Center (“MDA”), which as part

of the University of Texas is a state actor subject to the First Amendment, issued a mandate
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that all employees must receive a COVID-19 vaccine unless granted an exemption.

Despite granting both secular and religious exemptions to various employees—including

employees with job descriptions similar to those of the Plaintiffs—MDA denied

exemptions to each of these three doctors who requested a religious exemption based on

their pro-life beliefs, violating the rights afforded to them by the Constitution and federal

law.

        3.    Plaintiffs bring this suit as a civil rights action under 42 U.S.C. § 1983 and

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

                                        PARTIES

        4.    Plaintiff Bobby Bellard is an anesthesiologist employed by MDA. He

performs his job duties at the MDA facility in Houston, in the Southern District of Texas.

He also resides in the Southern District of Texas.

        5.    Plaintiff Craig Messick is a surgeon employed by MDA. He performs most

of his job duties at the MDA facility in Houston, and the remainder at the MDA facility in

Sugar Land, Texas, both of which are in the Southern District of Texas. He also resides in

the Southern District of Texas.

        6.    Plaintiff Barbra Speer is an anesthesiologist employed by MDA.             She

performs her job duties at the MDA facility in Houston, in the Southern District of Texas.

She also resides in the Southern District of Texas.

        7.    Defendant University of Texas MD Anderson Cancer Center is a component

of the University of Texas, which is part of the government of the State of Texas, and

therefore is a state actor. Plaintiffs work at MDA facilities in Houston and Sugar Land,


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both in the Southern District of Texas. Defendant MDA is an entity that functions through

its various governing bodies, officers, and employees. Those individuals are encompassed

here as constituent elements of MDA to the extent that their individual actions caused

Plaintiffs’ injuries and their compliance with an injunction or facilitating the payment of

damages would redress Plaintiffs’ injuries.

                             JURISDICTION AND VENUE

       8.     This Court has subject-matter jurisdiction over this case pursuant to 28

U.S.C. §§ 1331, 1343, and 42 U.S.C. § 2000e-5(f)(3).

       9.     This Court has authority to award Plaintiffs’ requested declaratory relief

under 28 U.S.C. §§ 2201–02, the requested injunctive relief under 28 U.S.C. § 1343 and

42 U.S.C. § 2000e-5(g), and the requested monetary relief under 28 U.S.C. § 1343 and 42

U.S.C. §§ 1988, 2000e-5(g), 2000e-5(k).

       10.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) both

because the Defendant is domiciled in this District, insofar as its corporate offices and all

of its relevant facilities are located in this District, and a substantial part of the events

complained of herein occurred in this District.

                              FACTUAL ALLEGATIONS

       11.    On November 4, 2021, the Centers for Medicare and Medicaid Services

(“CMS”) issued an Interim Final Rule (“IFR”), Medicare and Medicaid Programs;

Omnibus COVID-19 Health Care Staff Vaccination, 86 Fed. Reg. 61555 (Nov. 5, 2021).

In the IFR, the Secretary of Health and Human Services “announced that, in order to

receive Medicare and Medicaid funding, participating facilities must ensure that their


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staff—unless exempt for medical or religious reasons—are vaccinated against COVID-

19.” Biden v. Missouri, 142 S. Ct. 647, 650 (2022) (per curiam).

       12.     On November 5, 2021, MDA President Peter Pisters sent an email to MDA

staff informing them that MDA was issuing a COVID-19 vaccine mandate to comply with

the IFR, and advising them that additional information on compliance requirements would

be forthcoming. This was followed on November 11, 2021 with an informational town

hall, and a subsequent email from Dr. Pisters on November 12, 2021 providing additional

information.

       13.     Also on November 12, 2021, MDA sent each Plaintiff an email informing

each Plaintiff that because their vaccine documentation had not been submitted they were

therefore not in compliance with the mandate, and setting forth the timeline by which

compliance was required to avoid adverse action.

       14.     The deadline by which MDA employees were required to comply with

MDA’s vaccine mandate was delayed and then rescheduled as a result of the litigation

challenging CMS’s IFR. Subsequent to the Supreme Court’s January 13, 2022, decision

on the IFR in Biden v. Missouri, MDA sent a group email on January 25, 2022, advising

Plaintiffs that unless they received an exemption for religious or other reasons, they must

receive a COVID-19 vaccine by February 22, 2022, or be placed on administrative leave.

       15.     Each Plaintiff has a faith-based objection to receiving a COVID-19 vaccine.

Dr. Bellard is Roman Catholic and Drs. Messick and Speer are Evangelical Christians.

They all believe that abortion is sinful and contrary to God’s will. Drs. Bellard and Speer

believe the use of fetal cells in the development of COVID-19 vaccines means that to


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receive the vaccine would make them complicit in the evil of abortion. Dr. Messick

believes he was moved by the Holy Spirit to conclude that the COVID-19 vaccine was not

right for him at this time given his symptoms when he had COVID-19. For all three

Plaintiffs, taking the vaccine would be a violation of their sincerely held religious beliefs.

       16.      Dr. Bellard has worked at MDA for more than 10 years. Dr. Bellard

requested a religious exemption because of his pro-life beliefs on November 11, 2021, as

a reasonable accommodation of his sincerely held religious beliefs. MDA denied that

request on November 22, 2021. Dr. Bellard again requested a religious exemption because

of his pro-life beliefs on February 9, 2022. MDA denied that request on February 14, 2022,

without explanation or an opportunity to appeal.

       17.      As a consequence of that denial, on February 21, 2022, Defendant informed

Dr. Bellard that his employment contract with MDA would not be renewed for the year

beginning September 1, 2022.

       18.      Also as a consequence, on February 23, 2022, Defendant placed Dr. Bellard

on administrative leave, stripping him of his medical privileges and access to his facility

and accounts.

       19.      Dr. Messick has worked at MDA for more than nine years. Dr. Messick

requested a religious exemption because of his pro-life beliefs on November 19, 2021, as

a reasonable accommodation of his sincerely held religious beliefs. Defendant denied him

a religious exemption on February 8, 2022, without explanation or an opportunity to

appeal.




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       20.      As a consequence of that denial, on February 21, 2022, Defendant informed

Dr. Messick that his employment contract with MDA would not be renewed for the year

beginning September 1, 2022.

       21.      Also as a consequence, on February 23, 2022, Defendant placed Dr. Messick

on administrative leave, stripping him of his medical privileges and access to his facility

and accounts.

       22.      Dr. Speer has worked at MDA for more than nine years. Dr. Speer requested

a religious exemption because of her pro-life beliefs on November 12, 2021, as a

reasonable accommodation of her sincerely held religious beliefs. Defendant denied that

request on November 23, 2021. Dr. Speer again requested a religious exemption on

January 28, 2022. MDA denied that request on February 8, 2022, without explanation or

an opportunity to appeal.

       23.      As a consequence of that denial, on February 21, 2022, Defendant informed

Dr. Speer that her employment contract with MDA would not be renewed for the year

beginning September 1, 2022.

       24.      Also as a consequence, on February 23, 2022, Defendant placed Dr. Speer

on administrative leave, stripping her of her medical privileges and access to her facility

and accounts.

       25.      The denial of a religious exemption is a final action by MDA, and is not

subject to administrative appeal. Some injuries to Plaintiffs’ legal rights were complete

upon the issuance of that denial, others upon of the notice of non-renewal, and the others

upon being placed on administrative leave.


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       26.    MDA sent an email on March 15, 2022, to those staff who had been denied

a religious exemption, advising them that those denials would be reconsidered in the near

future. No assurances were given that any previously denied exemptions would be granted

after this reconsideration, but the email stated that any employees who receive an

exemption in the near future will be reinstated to active status from their current

administrative leave status. A subsequent March 16, 2022, email added that the notice of

non-renewal for the coming year’s employment contract would be reconsidered if, before

April 20, 2022, an employee either gets vaccinated or is approved for a religious

exemption. MDA again gave no assurances that any previously denied exemptions would

be granted in the future.

                                      COUNT I
                        First Amendment—Free Exercise Clause
                                   42 U.S.C. § 1983

       27.    Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       28.    Plaintiffs Bellard, Messick, and Speer hold sincere religious beliefs that

preclude them from receiving a COVID-19 vaccine.

       29.    Plaintiffs Bellard, Messick, and Speer informed MDA of those beliefs and

requested religious exemptions from the vaccine mandate.

       30.    MDA denied those requests, infringing upon Plaintiffs’ religious beliefs.

       31.    MDA’s failure to provide a religious exemption has harmed and will

continue to harm Plaintiffs.

       32.    “‘The loss of First Amendment freedoms, for even minimal periods of time

unquestionably constitutes irreparable injury.’” Opulent Life Church v. City of Holly


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Springs, 697 F.3d 279, 295 (5th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373

(1976) (plurality)).

       33.     Regarding the religious liberty implications of a COVD-19 vaccine mandate,

the Fifth Circuit has held, “By pitting their consciences against their livelihoods, the

vaccine requirements would crush Plaintiffs’ free exercise of religion.” U.S. Navy SEALs

1–26 v. Biden, No. 22-10077, 2022 WL 594375, at *9 (5th Cir. Feb. 28, 2022) (per curiam).

       34.     MDA’s vaccine mandate is not a generally applicable government action

because it allows for individualized exemptions. Fulton v. City of Phila., 141 S. Ct. 1868,

1877 (2021).

       35.     Because it is not a government action of general application, MDA’s vaccine

mandate violates the Free Exercise Clause unless it satisfies strict scrutiny. See Church of

the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 537–38, 546 (1993).

       36.     Under   strict   scrutiny,   the   government’s   challenged   policies   are

“presumptively unconstitutional and may be justified only if the government proves that

they are narrowly tailored to serve compelling state interests.” Reed v. Town of Gilbert,

576 U.S. 155, 163 (2015).

       37.     To satisfy strict scrutiny, MDA must prove its case by a “strong basis in

evidence.” See, e.g., City of Richmond v. J.A. Croson Co., 488 U.S. 469, 500 (1989).

       38.     MDA does not have a compelling interest in forcing Dr. Bellard, Dr.

Messick, or Dr. Speer to get a COVID-19 vaccine. “Rather than rely on broadly formulated

interests, courts must scrutinize the asserted harm of granting specific exemptions to

particular religious claimants.” Fulton, 141 S. Ct. at 1881 (cleaned up). MDA has never


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explained why it has a compelling interest in forcing any one of these three physicians to

receive the vaccine.

       39.    MDA’s vaccine mandate is not narrowly tailored. Regarding COVID-19

mandates:

       narrow tailoring requires the government to show that measures less restrictive of
       the First Amendment activity could not address its interest in reducing the spread of
       COVID. Where the government permits other activities to proceed with
       precautions, it must show that the religious exercise at issue is more dangerous than
       those activities even when the same precautions are applied. Otherwise, precautions
       that suffice for other activities suffice for religious exercise too.

Tandon v. Newsom, 141 S. Ct. 1294, 1296–97 (2021) (per curiam). As such, MDA’s

vaccine mandate violates Plaintiffs’ rights under the Free Exercise Clause.

                                 COUNT II
              First Amendment—Unconstitutional Conditions Doctrine
                              42 U.S.C. § 1983

       40.    Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       41.    Physicians at MDA such as Plaintiffs work on recurring one-year

employment contracts.

       42.    The general pattern and practice at MDA is that if a physician’s performance

is sufficient, MDA offers to renew that physician’s contract.

       43.    Each Plaintiff has worked at MDA for at least nine years, and all three are

accustomed to having their contracts renewed without incident or qualification.

       44.    All three Plaintiffs received high marks on their most recent annual review,

and accordingly expected their contracts to be renewed again this year.




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       45.    After MDA denied Plaintiffs’ religious exemptions, MDA also informed

Plaintiffs that their current contracts, ending August 31, 2022, would not be renewed for

the following year.

       46.    This non-renewal is due to Plaintiffs’ not receiving a COVID-19 vaccine that

would violate their religious beliefs.

       47.    Under the unconstitutional conditions doctrine, the government may not

deny a benefit to a person on a basis that violates his constitutionally protected rights, even

if he was not entitled to that benefit. Rumsfeld v. Forum for Acad. & Institutional Rts.,

Inc., 547 U.S. 47, 59 (2006). The unconstitutional conditions doctrine “forbids burdening

the Constitution’s enumerated rights by coercively withholding benefits from those who

exercise them.” Koontz v. St. Johns River Water Mgmt. Dist., 570 U.S. 595, 606 (2013).

       48.    Had Plaintiffs not exercised their enumerated rights under the Free Exercise

Clause, their contracts would have been renewed.

       49.    MDA’s failure to provide a notice of renewal has harmed and will continue

to harm Plaintiffs.

       50.    For these reasons, MDA’s notice of non-renewal to Plaintiffs violates the

unconstitutional conditions doctrine.

       51.    For these reasons, MDA’s notice of non-renewal to Plaintiffs violates the

unconstitutional conditions doctrine.




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                                    COUNT III
                     Fourteenth Amendment—Due Process Clause
                                  42 U.S.C. § 1983

       52.    Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       53.    The Due Process Clause of the Fourteenth Amendment guarantees that no

State shall “deprive any person of life, liberty, or property without due process of law.”

U.S. CONST. amend. XIV, § 1, cl. 3.

       54.    Plaintiffs had a liberty interest in the free exercise of their religion that is

protected by the Due Process Clause.

       55.    Defendant deprived Plaintiffs of last liberty interest.

       56.    Defendant did so without affording Plaintiffs due process because Defendant

never explained why the religious exemption request was denied or gave Plaintiffs the

opportunity to convince Defendant that Defendant’s reason for denying the exemption was

wrong. Ralls Corp. v. Comm. on Foreign Inv. in U.S., 758 F.3d 296, 318 (D.C. Cir. 2014);

see also Greene v. McElroy, 360 U.S. 474, 496 (1959); Woolsey v. Nat’l Transp. Safety

Bd., 993 F.2d 516, 521 (5th Cir. 1993); Robbins v. U.S. R.R. Ret. Bd., 594 F.2d 448, 451

(5th Cir. 1979).

       57.    Plaintiffs had property interests under Texas law that are protected by the

Due Process Clause.

       58.    Defendant deprived Plaintiffs of those property interests.

       59.    Defendant did so without affording Plaintiffs due process because Defendant

never explained why the religious exemption request was denied or gave Plaintiffs the




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opportunity to convince Defendant that Defendant’s reason for denying the exemption was

wrong. Ralls Corp., 758 F.3d at 318.

                                   COUNT IV
                  Fourteenth Amendment—Equal Protection Clause
                                 42 U.S.C. § 1983

       60.    Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

       61.    The Equal Protection Clause of the Fourteenth Amendment, U.S. CONST.

amend. XIV, § 1, cl. 4, guarantees Plaintiffs equal protection of the laws, “which is

essentially a direction that all persons similarly situated should be treated alike.” City of

Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985).

       62.    When a government action resulting in an equal-protection claim interferes

with the exercise of a fundamental right, the government must satisfy strict scrutiny. Nat’l

Rifle Ass’n of Am., Inc. v. McCraw, 719 F.3d 338, 350 (5th Cir. 2013).

       63.    The free exercise of religion is a fundamental right. Wisconsin v. Yoder, 406

U.S. 205, 214 (1972).

       64.    Several MDA employees who received a religious exemption from receiving

the COVID-19 vaccine are similarly situated to Plaintiffs. They share a faith-based

objection to the vaccine, have similar interactions with coworkers and patients, and thus

are at similar risk of contracting and spreading COVID-19. One colleague in particular

who received an exemption is an anesthesiologist like Drs. Bellard and Speer, working in

the same offices and operating rooms, performing the same job duties, in the same

proximity to coworkers and patients, and thus is indistinguishable from Drs. Bellard and




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Speer in every material respect with regards to receiving an exemption from MDA’s

vaccine mandate.

         65.   Plaintiffs were denied equal protection under the law when MDA denied

them a religious exemption from the mandate to receive a COVID-19 vaccine, when

similarly situated employees were granted an exemption.

         66.   MDA’s treating Plaintiffs differently than similarly situated MDA

employees has harmed and will continue to harm Plaintiffs.


                                        COUNT V
                                   Violation of Title VII
                                  42 U.S.C. § 2000e et seq.

         67.   Plaintiffs restate the foregoing paragraphs as if set forth fully herein.

         68.   Title VII of the Civil Rights Act of 1964, codified as amended at 42 U.S.C.

§ 2000e et seq., prohibits employers from discriminating against employees on the basis of

religion. Id. § 2000e-2(a)(1). As amended, this protection extends against state employers

in addition to private employers, as an exercise of Congress’ authority under Section 5 of

the Fourteenth Amendment to enact legislation abrogating States’ Eleventh Amendment

sovereign immunity. Perez v. Region 20 Educ. Serv. Ctr., 307 F.3d 318, 326 n.1 (5th Cir.

2002).

         69.   MDA is required “to reasonably accommodate” its employees’ religious

beliefs, meaning MDA must accommodate a “religious observance or practice without

undue hardship on the conduct of” MDA’s operations. 42 U.S.C. § 2000e(j).




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       70.    Plaintiffs requested that MDA grant them a religious exemption from the

mandate to receive a COVID-19 vaccine as a reasonable accommodation of Plaintiffs’

sincerely held religious beliefs.

       71.    MDA refused to engage in an interactive process with Plaintiffs regarding

their religious accommodation requests, and instead required Plaintiffs to answer questions

designed to deter Plaintiffs from exercising their religious beliefs.

       72.    Regardless of the lack of interactive process, MDA failed to provide

Plaintiffs with reasonable accommodations for their religious beliefs, because being placed

on administrative leave, to be followed by non-renewal, is not a reasonable

accommodation. Instead, these are adverse employment actions.

       73.    MDA thereby discriminated against Plaintiffs because of their religious

beliefs.

       74.    MDA’s failure to provide religious accommodations has harmed and will

continue to harm Plaintiffs.

       75.    On March 17, 2022, Plaintiffs filed charges with the EEOC complaining of

these discriminatory actions. Those charges are currently pending.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request that the Court issue an order and judgment:

       a.     Declaring that MDA’s denial of religious exemptions to Plaintiffs violates

the Free Exercise Clause as applicable through the Fourteenth Amendment;

       b.     Declaring that MDA’s stripping Plaintiffs of their medical privileges and

access to their facilities, as well as MDA’s non-renewal of Plaintiffs’ contracts, due to their


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refusal to forfeit their First Amendment rights violates the unconstitutional conditions

doctrine;

       c.     Declaring that MDA’s denying Plaintiffs’ requests for a religious exemption

without any explanation or opportunity to persuade MDA that MDA’s decision was wrong

violates the Fourteenth Amendment Due Process Clause;

       d.     Declaring that MDA’s treating Plaintiffs differently than similarly situated

MDA employees violates the Fourteenth Amendment Equal Protection Clause;

       e.     Declare that MDA has violated Title VII by failing to provide Plaintiffs

reasonable accommodations to its COVID-19 vaccine mandate;

       f.     Enjoining MDA through a preliminary injunction, to be succeeded by a

permanent injunction, preventing MDA from enforcing its vaccine mandate against

Plaintiffs, and requiring MDA to: (i) restore Plaintiffs to active status at their previous

MDA positions, with all attendant rights and privileges, through the end of their current

annual contract; and (ii) offer to renew the contract for the next annual period beginning

September 1, 2022;

       g.     Enjoin MDA in a permanent injunction to grant reasonable accommodations

as required by federal law;

       h.     Award damages—whether nominal, compensatory, or other—for violations

of Plaintiffs’ First Amendment rights in Counts I–II and Fourteenth Amendment rights in

Counts III–IV.

       i.     Award any damages due from the Title VII religious discrimination violation

in Count V;


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      j.    Award reasonable attorneys’ fees and costs; and

      k.    Grant any other relief that the Court deems just, proper, and equitable.



March 18, 2022                                 Respectfully submitted,
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